Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14531 Filed 01/28/15 Page 1 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14532 Filed 01/28/15 Page 2 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14533 Filed 01/28/15 Page 3 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14534 Filed 01/28/15 Page 4 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14535 Filed 01/28/15 Page 5 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14536 Filed 01/28/15 Page 6 of 7
Case 2:11-cr-20129-RHC-EAS ECF No. 1227, PageID.14537 Filed 01/28/15 Page 7 of 7
